Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)


                                                                                                               U.C.:
                                        United States District Court
                                                                           for the
                                                                                                               2QB0CI 10 Pi2:29
                                                        £.r^MlefV\ District of
                                                        I(                      Division                            ;           too.
                                                                                     Case No.     CVl 23-0 1 50
                                                                                                 (to befilled in by the Clerk's Office)
       ^Zlaude.
                          Plaintiff(s)
(Write thefull name ofeach plaintiff who isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
                                                                                     Jury Trial: (check one) □ Yes Qno
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)

        FfeV                           (JrA


                             Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
 write "see attached" in the space and attach an additional page
with thefull list ofnames. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                            (Non-Prisoner Complaint)



                                                                          NOTICE


    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court fi les. Under this rule, papers fi led with the court should nol contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A fi ling may include ottly: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                          Page I of 6
Pro Se 15(Rev. 12/16)Complaint for Violation of Civil Rights(Non-Prisoner)


1.        The Parties to This Complaint

          A.        The Plaintiff(s)


                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                          Name
                          Address
                                                                        'IS'4-    Oxyvvwa-troA >5c

                                                                                  ?//>'            State              Zip Code
                          County                                                          0>
                          Telephone Number
                          E-Mail Address                                         OV)3Ok^            oaSI * C£rh/\
          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known)and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1

                           Name                                                  K(Lr[
                           Job or Title (ifknown)
                           Address                                           30po T^fcioOTs                           ^
                                                                                 City
                                                                                                  Cr ty          3<23A1
                                                                                                   State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                     I I Individual capacity   Qofficial capacity

                     Defendant No. 2
                           Name

                           Job or Title (ifknown)
                           Address


                                                                                 City              State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                     I I Individual capacity      Official capacity



                                                                                                                                 Page 2 of 6
Pro Se 15(Rev. 12/16)Complaint for Violation of Civil Rights(Non-Prisoner)


                    Defendant No. 3

                          Name

                          Job or Title (ifknown)
                          Address


                                                                                City            State              Zip Code
                          County
                          Telephone Number
                          E-Mail Address (ifknown)

                                                                     I I Individual capacity   Official capacity

                     Defendant No.4

                          Name

                           Job or Title (ifknown)
                           Address


                                                                                City            State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                     Q Individual capacity □ Official capacity
II.        Basis for Jurisdiction


          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under           v. Six Unknown Named Agents of
          Federal Bureau ofNarcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

           A.        Are you bringing suit against (check all that apply):

                           Federal officials (a Bivens claim)

                     I I State or local officials (a § 1983 claim)
           B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




                     Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?


                                                                                                                              Page 3 of 6
Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)




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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983,explain how each defendant acted under color
                     ofstate or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.




III.     Statement of Claim


         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names ofother persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?
                         Coi*i5^




         B.          What date and approximate time did the events giving rise to your claim(sIoccur?              < i tyli*
                                                   I^                               CollCWU


                     What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)                   i l,'                 0'




                                                                                                                        Page 4 of 6
Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)



IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any,
          reatment, if any, you
                            you required
                                required and
                                         and did
                                             did or
                                                 or did
                                                    did not
                                                        not receive.
                                                            receive.          aa   aa "/Vtrfctk
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V.       Relief


         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages,include the amounts of any actual damages and/or punitive damages claimed for^
         the acts alleged. Explain the basis for these




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                                                                                                                        Page 5 of 6
Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)




VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,information,
         and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
         nonfnvolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date ofsigning;                QclHO


                     Signature of Plaintiff
                     Printed Name of Plaintiff
                                                                       CAauAQ.       ^
         B.          For Attorneys


                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number

                     Name of Law Firm

                     Address


                                                                              City          State          Zip Code

                     Telephone Number
                     E-mail Address




                                                                                                                       Page 6 of 6
Civil rights violations Complaint


I am Claude Jean, a retired Black military officer from the US Army working in Information Technology
(Signal). During my time in service, I fought for the Stars and Stripes in Kosovo, Iraq, and
Afghanistan. Now that I'm retired from the Army, I find myself being targeted and harassed by
government agents even though I never dealt with government secrets. I feel that I am being targeted
because of anti Black racism.


This nightmare and harassment first began in early 2018. In Feb 2018, 1 noticed that I started being
continually tailgated and followed by federal agents from the Augusta FBI Office and sometimes by
the county deputies. In March 2018, my property in Augusta GA was forcefully broken into and
illegally searched by the FBI agents without a warrant, in violation of the Fourth and Fifth Amendments
of the Constitution. During the break-in, the robbers stole my house and car keys and all my
important documents including my university diploma, financial statements, property titles, tax,
military and veterans affairs documents, etc.(see attached police report). After the forceful break
into my property, the robbers used the stolen keys for my vehicle and properties in order to illegally
access my car and houses in search for data and evidence of wrongdoing. In May 2021, while I left my
Porsche in my parking lot, I found it the next day with bodily damages as if it had been driven without
permission with the stolen car keys. Again in Sep 2023, while my car was parked at my son's house in
Atlanta and I was overseas, the robbers drove my car and hit it in the back resulting into major
damages including a broken fog light.


During this trial period, some of my outgoing and incoming mail started to disappearing, both online
and offline including at the US Post Office. In addition, the government agents illegally ceased both
of my email accounts: clode007@yahoo.com and clode006@gmail.com (see attached police
report). Since early 2018, government hackers have been monitoring my online activities, reading and
deleting my emails and manipulating my bank and tax data. I'm no longer able to freely file my taxes
online because government hackers continuously change my tax data and prevent delivery of my tax
returns in an effort to intentionally fabricate evidence of tax fraud. This assault has also occurred in
person. For example, in March 2020, an FBI agent approached me at the Atlanta Airport for
questioning about the items that they took from my property. During this conversation, he asked me
questions about my assets and finances and nicely accused me of financial fraud. This interrogation
lasted for a couple minutes and I kindly ignored him because I didn't consent to the interrogation.


Still today, those agents continue to infringe on my rights to communicate, acquire useful knowledge
online, and enjoy the privileges of happiness and freedom. I feel as if I am being held hostage by
these federal agents. I have lost almost all my civil rights in violation of my constitutional
rights. Government hackers steal my inner peace and also block some of my emails from reaching
their final destination. Furthermore, they regularly use some of the information obtained from my
emails to contact the people that I interact with in order to stifle and obstruct my daily activities. For
example, my medical doctors informed me that they have been requested by US agents to change my
medications. This is probably an effort to fabricate evidence of VA medical fraud or to enable them to
accomplish their aim. As time goes by, the harassment is getting worse, aggravating my anxiety and
destroying my faith in people.


There are enough laws in this country to protect me from this kind of government harassment and
theft. To that end, I have contacted the local authority for assistance including US postal service
inspectors but they have done nothing to assist me in order to make feel safe. As a result of the
aforementioned events, I have been deprived of my liberty and assets without any due process of law
in violation of the 14th Amendment. As such, I would like to seek redress from the Court for these on
going constitutional violations. These government agents need to be held accountable for violating
my civil rights, in accordance with 18 U.S.C Section 242. I also want to recuperate my stolen assets,
emails and data from the government agents. Lastly, I'm entitled to a remedy by the Court for the
government disrespect of my private life.
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                                                           PRIVACY ACT STATEMENT
 AUTHORITY:               Title 10, USC Section 301;Title 5, USC Section 2951; E.0.9397 Sodal Security Number(SSN).
 PRINCIPAL PURPOSE: To document potential criminal activity involving the U.S. Aimy,and to allow Army officiais to maintain disdpltne,
                          law and order through invesiigation of complaints and Incidents.
 ROUTINE USES:            Information provided may be further disclosed to federal, state, local, and foreign government law enforcement
                          agendas, prosecutors,courts, child protective services, victims, witnesses, the Department of Veterans Affairs, and
                          the Office of Personnel Management, Information provided may be used for determinations regarding Judicial or
                          non-judicial punishment, other administrative disciplinary actions, security clearances, recruitment, retention,
                          placement, and other personnel actions.
 DISCLOSURE:              DIsdosure of your SSN and other information is voluntary.
1. LOCATION                                                     2. DATETyyWWMOPJ                3. TtME ^            4. FILE NUMBER

 6>r\isS^k                                                                                         \X>^0-
5. LAST NAME.
           E. FlRSfNAME,
              BRSTfj     MIDDLE NAME                                      8. SSN                                     7. GRADE/STATUS

                        Hftvyv.
 . ORGANIZATION OR ADDRESS
8.

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1Q. EXHIBIT
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ADDITIONAL PAGES MUST CONTAIN THE HEADING'STATEMENT OF                             TAKEN AT             DATED


THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIAiS OF THEPERSON MAKING THE STATEMENT. AND PAGE NUMBER

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                USE THIS PAGE IF NEEDED. IF THIS PAGE IS NOT NEEDED,PLEASE PROCEED TO FINAL PAGE OF THIS FORM.


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           iGINS ON PAGE 1. AND ENDS^ PAGE
 WHICH BEGINS                         page 3 • I fully understand the CONTENTS OF THE ENTIRE STATEMENT MADE
 BY ME. THE STATEMENT IS TRUE, I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
 CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD WITHOUT
 THREAT OF PUNISHMENT. AND WITHOUT COERCION. UNLAWFUL INFLUENCE. OR UNLAWFUL INDUCEMENT


                                                                          (SiQnalurB ofPerson Making SlafemenlJ
 WITNESSES:                                                  Subscribed and sworn to before me. a pe^n authorized by law lo
                                                          administer oaths, this         day of .V/nP               .ZOl^
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  ORGANIZATION OR ADDRESS                                                (SlgnaSum rnPerson Administering Oath)

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INITIALS OF PERSON MAKING STATEMENT
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DA FORld2823, NOVZ006                                                                                                APDLCV1.01ES
Agency Name
                                                                      INCIDENT/INVESTIGATION                                     Case#
                                                                                                                                         18-008873
      Columbia County Sheriffs Office                                                    REPORT                                  Date / Time Reported
                                                                                                                                             Keportea
                                                                                                                                             04/24/2018 08:04          Tue
ORI
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                                                                                                                                                04/16/201818:00       Mon
Location ofIncident                                                Gang Relat Premise Type                         Beat/Beat
                                                                                                                                 At Found
      6185 COLUMBIA RD. Appling GA 30802                                NO           Rental Storage                     B5                      04/22/201813:00        Sun
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      Burglary 2nd Degree - Forced Entry                                  Entry                            Exit                      Security
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# of Victims     1         Type: INDIVIDUAL( NGN LE)                                     Injury: None                                       Domestic: N
           Victim/Business Name(Last, First, Middle)                                 Victim of        DOB         Race Sex Relationship     Resident Status       Military
                                                                                      Crime#                               To Offender                         Branch/Status
 VI    JEAN. CLAUDE
                                                                                         A          Age 51         B      M IRU                 Resident
 Home Address                                                                                      Email                                              Home Phone

2525 CENTER WESTPKWY. Augusta. GA 30907-                                                           clodeOO7@yahoo.com                                      706-830-4898
Employer Name/Address                                                                                               Business Phone                    Mobile Phone
                       US ARMYFORT GORDON. GA (MAJORJ US ARMY)                                                                 706-830-4898                706-830-4898
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 CODES: V-Victim(Denote V2,V3)               WI= Witness      10 = Involved Other         RP = Reporting Person(ifother than victim)
 Type:                                                                                   Injury:
           Name(Last, First, Middle)                                                  Victim of       DOB         Race Sex Relationship     Resident Status       Military
Code
                                                                                       Crime#                              To Offender                         Branch/Status
                                                                                                    Age
 Home Address                                                                                      Email                                              Home Phone


 Employer Name/Address                                                                                              Business Phone                    Mobile Phone


 Type:                                                                                   Injury:
           Name(Last, First, Middle)                                                  Victim of       DOB         Race Sex Relationship     Resident Status       Military
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                                                                                                    Age
 Home Address                                                                                      Email                                              Home Phone


 Employer Name/Address                                                                                              Business Phone                    Mobile Phone


 1 = None 2= Burned 3 = Counterfeit / Forged 4 = Damaged / Vandalized 5 = Recovered 6 = Seized 7 = Stolen 8- Unknown
                          ("OJ"= Recovered for Other Jurisdiction)
           Status
      Code Frm/To        Value         OJ   OTY                   Propertv Description                                  Make/Model                    Serial Number

      48                     $0.00                EMAIL ACCOUNTPASSWORD

      77                     $0.00                CAR TITLE

      48                     $0.00                DOCUMENTSPERSONAL

      77                     $0.00                CAR KEY




Officer/ID#                  C. J.(SOD. BIKE)(93099)
Invest ID#           DODSON.F. (INV.PC)(90339)                                                             Supervisor     BOGDANOW.J. A.(PAT. RS)(92862)
Complainant Signature                                   Case Status                                     Case Disposition:                                        Page 1
                                                       Closed                               05/01/2018                8                     05/01/2018
R_CS1IBR                               Printed By:TKNIGHT,IBARNETT                                     Sys#: 110195                                        10/03/2023 12:05
                                                 INCIDENT/INVESTIGATION REPORT

 Columbia County Sheriff's Office                                                                                Case# 18-008873

       1 = None 2= Burned 3= Counterfeit / Forged    4 = Damaged / Vandalized 5 = Recovered 6 = Seized 7 = Stolen 8= Unknown

     IBR   Status         Quantity    Type Measure               Suspected Type



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     Assisting Officers




     Suspect Hate / Bias Motivated:

NARRATIVE

 The complainant, Mr. Jean, stated that some unknown person(s) forced open the door to his metal storage shed that is on his property.
Mr. Jean stated that the unknown person(s) then rummaged through his belongings in the shed. Mr. Jean stated that it appeared no items
were taken from the shed, but is unsure. I observed that the door latch to the shed had been forced open. I observed no physical evidence
at the scene to process. Mr. Jean will prosecute.




RCS2IBR                                                By: TKNIGHT,IBARNETT 10/03/2023 12:05                                        Page 2
                                               Incident Report Related Property List
 Columbia County Sherijfs Office                                                                                  OCA: 18-008873




    Property Description                                                  Make                         Model                             Caliber



    Color                   Serial No.                            Value                        Qty               Unit           Jurisdiction

                                                                                       $0.00             2.000                           Locally
    Status                          Date              NIC#                  State#                   Local #                   OAN

                Stolen                   04/22/2018
    Name(Last, First, Middle)                                                          DOB                      Age           Race          Sex

     Jean, Claude                                                                                                        51          B             M

    Notes



    Property Description                                                  Make                         Model                             Caliber



    Color                   Serial No.                            Value                        Qty                Unit          Jurisdiction

                                                                                       $0.00             2.000                           Locally
    Status                          Date              NIC#                  State #                  Local#                    OAN

              Stolen                     04/22/2018
    Name(Last, First, Middle)                                                          DOB                      Age           Race          Sex

     Jean, Claude                                                                                                        51          B             M

    Notes



    Property Description                                                  Make                         Model                             Caliber

     DOCUMENTSPERSONAL
    Color                   Serial No.                            Value                        Qty                Unit          Jurisdiction

                                                                                       $0.00             1.000                           Locally
    Status                          Date              NIC#                  State it                 Local #                   OAN

                Stolen                   04/22/2018
    Name(Last, First, Middle)                                                          DOB                      Age           Race          Sex

     Jean, Claude                                                                                                        51          B             M

    Notes
         Mr. Jean stated his naturalization certificate, his real estate documents/key, his tax receipts/documents and various military
         documents that were historical.

    Property Description                                                  Make                         Model                             Caliber

     CARREY
    Color                   Serial No.                            Value                        Qty                Unit          Jurisdiction

                                                                                       $0.00             2.000                           Locally
    Status                          Date              NIC#                  State #                  Local it                  CAN

                Stolen                   04/22/2018
    Name(Last, First, Middle)                                                           DOB                     Age           Race          Sex

     Jean, Claude                                                                                                        51          B             M

    Notes




R CSOIBR                                          Printed By: TKNIGHT,IBARNETT 10/03/2023 12:05                                                    Page 3
                              mail TO: COLUMBIA COUNTY SHERIFF'S OFFICE
                                                  P.O.BOX 310
  NAME:          dtaciX U.                   APPLING,GEORGIA 30802
                                                                           CASE#_[^^^£2£15m.
 PHONE #




 PRINT OR TVPg                        ITEMIZED LOST/STOLEN LISTING


                       m«XS[SS'rCyj.'r                               P™
   of items
                               Description
                                                                 Serial
                                                                              Model      Value




                             ■"2^"                     »y i~« "»P"y. «l«       «,.i„
Victim's Signature."
Gmail - Complaint has been submitted                                                                                           10/10/23,10:42 AM




 M Gmail
 Complaint has been submitted
 no-reply@reportfraud.ftc.gov <no-reply@reportfraud.ftc.gov>                                                  Fri, Feb 3, 2023 at 5:01 PM
 To: tapion012@gmail.com


                                                         h FEDERAL TRADE COMMISSION
                                                           ReportFraud.ftc.gov


                                              We Have Your Report!
                                                         Report number: 156188512



      Thank you for filing a report with the Federal Trade Commission and helping to fight fraud in your community.

      The FTC does not resolve individual reports, but your report will be entered in the FTC's Consumer Sentinel databasi
      and will be available to federal, state, and local law enforcement across the country.




                                                          Your Next Steps
      If you want to stop getting so much junk mail:

           • Register at the Direct Marketing Association's(DMA)www.DMAchoice.org. For $2, you can choose whal
             marketing mail you do and don't want for the next 10 years. Registering online is the fastest way to see results
           • You still might get mail from scammers, so learn the signs of a scam at ftc.gov/scams.

      General Advice:

           • You can find tips and iearn more about bad business practices and scams at consumer.ftc.gov.
           • if you're concerned that someone might misuse your information, like your Social Security, credit card
             or bank account number, go to identitytheft.gov for specific steps you can take.




                                                      Want To Learn More?




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Gmail - Identity Theft Report                                                                                                   10/10/23, 10:39 AM




 M Gmail
 Identity Theft Report
 MailTheft@uspis.gov <MallTheft@uspis.gov>                                                                   Wed, Feb 1, 2023 at 1:03 AM
 To: Taplon012@gmail.com
 Co: Tapion012@gmall.com

    Thank you for completing this form.<br/><br/>Your Reference number is: 37112115<br/><br/>The U.S. Postal
    Inspection Service gathers data on mail-related crime to determine whether a violation has occurred. While we can't
    guarantee that we can recover lost money or items, your information can help alert Inspectors to problem areas and
    possibly prevent other people from being victimized.<br/><br/>U.S. Postal Inspectors base their investigations on the
    number, substance, and pattern of complaints received from the public. We ask you to keep all original documents
    related to your complaint. We will contact you ONLY if more information is needed.<br/><br/>Please DO NOT REPLY
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